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m THE UNlTED STATES msTRlCT COURT 05405, \
FoR THE WESTERN DISTRICT 0F TENNESSEE €_9 O.O
EASTERN I)IvlsloN `
1013 BERKLEY,
Plaintj 1`1`,

Civil Action 1\10. 05-2341-T/An

THE PICTSWEET COMPANY,

Defendanl.

 

RULE 16(b) SCHEDULING ORI)ER

 

Pursuant 10 the scheduling conference set by ertten notice, the Following dates are
established as the fmal dates ibr:

INITIAL DISCLOSURES (_RULE 26(a)(1)): Segtember 131 2005

.lOlNING PARTIES:

Fol' Plaintiff: Octol)er 31 2005
1`01' Defendant: November 30 2005

 

 

AMENDING PLEADINGS:

1`01' P]al`ntiff: October 31 2005
I`Or Defendant: November 30 2005

 

 

COMPLETING ALL DISCOVERY: M_arch 13 2006

 

(a) REQUESTS FOR PRODUCTION, INTERROGAT()RIES ANI)
REQUESTS FOR ADMISIONS: March 13 2006

 

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: lanuary 15, 2006

(ii) Defendant’s Experts: Februar}; 14, 2006
(iii) Supplementation under Rule 26(e): 10 days after Defendant’$

disclosure
1"m`s document entered on ihe docket §.h et In com iiance
with Hule 58 and,'or_?§ (a} FRCP on 3 § /_)D© l 535

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(c) DEPosrrioNs oF EXPERTS: March 13, 2000
FiLING msPosrrIvE Mo'rroNs= Aprii 12= 2006
FINAL Lisrs or WITNEssEs AND EXHIBITS (Ruie 26(3)(3)):

(a) for Plaintif`f; May 29, 2006
(b) for Defendant:.lune 13 2006

 

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Ru]e 26(a)(3).

The trial ofthis matter is expected to last w days and is SET for JURY TRIAL on
.luly 12, 2006 at 9:30 A.M. A joint pretrial order is due on June 30, 2006. In the event the
parties are unable to agree on a joint pretrial order, the parties must notify the court at least ten
days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing parting in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery

Motions to compel discovery arc to be filed and served by the discovery deadline or
vvithin 30 days ofthe default or service ofthe response, answer, or objection Which is the subject
ofthe motion ifthe default occurs vvithin 30 days ofthe discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

'l`he opposing party may file a response to any motion filed in this matter. Neither party
may tile an additional reply, however, without leave ofthe court. Ifa party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

The parties may consent to trial before the Magistrate .ludge. The Magistrate .ludge can
normally provide the parties with a definite trial date that vvill not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

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lee parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv. » » 113

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.`: “'

'l`his order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this ()rder will not be modified or
extended

IT IS SO ORDERED.

<§/./Y/Tor)m 500/03

S. THOl\/IAS ANDERSON
UNITED STATES MAG]_STRATE JUDGE

D'dt@: 450/ti 313 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02341 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

